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 11
 12   Attorneys for Creditors
      DIAGEO BRANDS BV, DIAGEO NORTH AMERICA,
 13   INC., DIAGEO SCOTLAND LIMITED, AND BARTON
      & GUESTIER S.A.S.
 14
 15                            UNITED STATES BANKRUPTCY COURT

 16                      FOR THE NORTHERN DISTRICT OF CALIFORNIA

 17                                       OAKLAND DIVISION

 18   In re                                             Case No. 20-40990-RLE
 19   Fairn & Swanson, Inc.,                            Chapter 7
 20                  Debtor.                            NOTICE OF APPEARANCE AND
 21                                                     REQUEST FOR SERVICE OF PAPERS

 22
 23           PLEASE TAKE NOTICE that Rochelle McCullough, L.L.P. and Friedman &
 24   Springwater LLP hereby appear in this matter as counsel for Diageo Brands BV, Diageo
 25   North America, Inc., Diageo Scotland Limited, and Barton & Guestier S.A.S. (collectively
 26   the “Diageo Entities”) in the above-captioned bankruptcy case (the “Bankruptcy Case”).
 27   Pursuant to Rules 2002, 9007 and 9010 of the of the Federal Rules of Bankruptcy Procedure
 28   (the “Rules”), the Diageo Entities request that all notices given or required to be given in this
      {00830986 1}                                    1
                      NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS
Case: 20-40990    Doc# 51      Filed: 07/13/20    Entered: 07/13/20 10:20:03       Page 1 of 3
  1   Bankruptcy Case and all papers served or required to be served in this Bankruptcy Case, be
  2   given to and served upon the following:
  3
  4                                     Andrew E. Jillson, Esq.
                                         Kathryn G. Reid, Esq.
  5                                   Rochelle McCullough, L.L.P.
                                   325 North Saint Paul St., Suite 4500
  6                                       Dallas, Texas 75201
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  7                                      Fax: (214) 953-0182
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  9                                                  and
 10
                                         Ellen A. Friedman, Esq.
 11                                     Ruth Stoner Muzzin, Esq.
                                     Friedman & Springwater LLP
 12                                  350 Sansome Street, Suite 800
                                    San Francisco, California 94104
 13
                                           Tel: (415) 834-3803
 14                                       Fax: (415) 834-1044
                                 Email: efriedman@friedmanspring.com
 15                               Email: rmuzzin@friedmanspring.com
 16
 17            PLEASE TAKE FURTHER NOTICE that the foregoing demand includes not only

 18   the notices and papers referred to in the Rules specified above, but also includes without
 19
      limitation, orders and notices of any applications, motions, petitions, pleadings, requests,
 20
      complaints, demands, disclosure statements, plans of reorganization, and answering or reply
 21
      papers whether transmitted or conveyed by mail, delivery, telephone, e-mail, or otherwise.
 22
 23            PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance and

 24   Request for Service of Papers nor any other appearance in this Bankruptcy Case, pleading,
 25
      claim or suit shall waive (1) the Diageo Entities’ right to have final orders in non-core
 26
      matters entered only after de novo review by a District Court Judge, (2) the Diageo Entities’
 27
      right to trial by jury in any proceeding so triable in this Bankruptcy Case or any case,
 28
      {00830986 1}                               2
                       NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS
Case: 20-40990       Doc# 51   Filed: 07/13/20   Entered: 07/13/20 10:20:03       Page 2 of 3
  1   controversy, or proceeding related to this Bankruptcy Case, (3) the Diageo Entities’ right to
  2
      have the District Court withdraw the reference in any matter subject to mandatory or
  3
      discretionary withdrawal, or (4) any other rights, claims, action, defenses, including defenses
  4
      to jurisdiction, setoffs, or recoupments to which the Diageo Entities may be entitled, in law
  5
  6   or in equity, all of which rights, claims, actions, defenses, setoffs, and recoupments the

  7   Diageo Entities expressly reserve.
  8
  9
      Dated: July 13, 2020                    ROCHELLE MCCULLOUGH, LLP
 10                                           FRIEDMAN & SPRINGWATER LLP
 11
 12
                                              By:    /s/ Ruth Stoner Muzzin
 13                                                  Ellen A. Friedman
 14                                                  Ruth Stoner Muzzin
                                                     Attorneys for Creditors
 15                                                  DIAGEO BRANDS BV, DIAGEO NORTH
                                                     AMERICA, INC., DIAGEO SCOTLAND
 16                                                  LIMITED, AND BARTON & GUESTIER
                                                     S.A.S.
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      {00830986 1}                               3
                       NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS
Case: 20-40990       Doc# 51   Filed: 07/13/20    Entered: 07/13/20 10:20:03      Page 3 of 3
